Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 1 of 10 Page|D 1

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MIDI)LE DISTRIC'I` OF FLORIDA
.IACKSONVILLE DIVISION

.IESSICA KANABLE and
ANNETTE KANABLE`

CASE No.; 31 \%-U~/ Fl,G¢IO~O'- pm
Plaintil`i`s, y

_VS_

ALLY FtNANCIAL, 1NC.,

Del`endant.
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COMI’LAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintif`i`s, Jessica Kanable and Annette Kanable, by and through
the undersigned counsel, and sues Defendant, ALLY FINANCIAL, lNC., and in support
thereof respectfully alleges violations of the Telephone Consumer Protection Act, 4'?
U.S.C. § 22'? er seq. (“TCPA”) and the Florida Consumer Collection Practices Act. Fla.
Stat. § 559.55 et seq. (“FCCPA”).

INTRODUCTION

l. The TCPA was enacted to prevent companies like ALLY FINANCIAL.
lNC. from invading American citizen`S privacy and prevent abusive “robo-calls."

2. "Thc TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone Calls." Mim.s' t’. Arrc)n-‘ an. Ser‘v.'.‘.. LLC`_. -US--. 132
S.Ct.. 74(}. ?45, 181, L.Ed. 2d 881 (2012).

3. "Senator Hollings, the TCPA"s sponsor, described these calls as ‘the

*1256 seourge of modern civilization._ they wake us up in the tnorning; they inten'upt our

Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 2 of 10 Page|D 2

dinner at night; they force the sick and elderly out of bed; they bound us until we want to
rip the telephone out of the wall.”’ 13? Cong. Rec. 30, 821 (1991). Senator Hol!ings
presumably intended to give telephone subscribers another option: telling the autodialcrs
to simply stop calling." O.ro)‘ir) v. .S`Iate Frtr)it Ban)'<, F.S.B., 746 F. 3d 1242 (11"' Cir.
2(}]4).

4. According to the Federal Communications Commission {FCC),
“Unwanted calls and texts are the number one complaint to the FCC. Thcre are thousands
of complaints to the FCC every month on both telemarketing and robocalls. Thc FCC
received more than 215,[](){1 TCPA complaints in 2014." Fact Sheet.' Wheeler Pro;)osal
to Protecr amf Empoi-ver Consnmers Agoinst Unwrmted Robocal[s, TP.i't.r to Wi`reles.r
Phones, Fedcral Communications Commission. (May 2'?._ 2{}15),
http:i'ftransition.f`cc.govaai]y Releases!Dailv BusinesstZ()l5fdb{)52?/DOC-

3336?6A1.pdi`.

JURISDICTION AND VENUE

3. This is an action for damages exceeding Seventy-Five Thousand Dollars
(S?S,OUU.UO) exclusive of attorney fees and costs.

6. lurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question .lurisdiction, as this action involves
violations of the TCPA.

?. Subject matter jurisdiction federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

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Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 3 of 10 Page|D 3

Constitution, |aws, or treaties of the United States; and this action involves violations of"
4? U.S.C. § 22?(b)(1)(A)(iii). See Mi`ms v. Arrr)n' Fi'n. Seivs., LLC, S.Ct. ?40, 248 (20|2)
and Osori`o v. State Farm Bank, F.S.B., Fr'-¢io F.Bd 1242. |249 (l l"l Cir. 2014)

8. The alleged violations described herein occurred in Clay County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §139l(b)(2) as it is the
judicial district in which a substantial part of the events or omissions giving rise to this
action occurredl

FACTUAL AI.LEGATIONS

9. Plaintiffs are natural persons. and citizens of the State of Florida, residing
in Clay County. F|orida

10. Plaintiffs are "consumers” as defined in Florida Statute § 559.55(8).

l l. lessica Kanable is an `“alleged dcbtor.”

l2. Plaintiffs are the “ealled party." See Bre.rfow v. Wclls Fargo Bank, N.A.,
';’55 F. 3d 1265 (l llh Cir. 2014) and Osori`c) v. State Fnrm chk, F.S.B., ?46 F.3d 1242
(i 1"‘ Cir. 2014).

13. Dei`endant, ALLY FINANCIAL, lNC.. is a corporation with its principal
place oi` business located at 500 Woodward Avenue, Detroit, Michigan, 48226 and which
conducts business in the State of Florida through its registered agent, C T Corporation
Systcm located at 1200 South Pine Island Road. Plantation. Florida, 33324.

14. The debt that is the subject matter of this Complaint is a “consumer debt"

as defined by Florida Statute §559.55(6).

Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 4 of 10 Page|D 4

15. ALLY FINANCIAL, lNC. is a "creditor" as defined in Florida Statute
§559.55(5)

16. ALLY FINANCIAL. INC. called Plaintifi`s on their cellular telephones
approximately seven-hundred (?`00) times in an attempt to collect a debt.

1?. ALLY FlNANCIAL. INC. attempted to collect an alleged debt from
Plaintiffs by this campaign oftelephone calls.

lS. Upon information and belief, some or all of` the calls the Defendant made
to Plaintifl`s` cellular telephone numbers were made using an “automatic telephone
dialing system" which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator (including but not limited to a
predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as
specified by 42 U.S.C § 22?(a)(1) (hereinafter "autodialer ealls”). Plaintiffs will testify
that they knew it was an autodialer because of the vast number of calls she received and
because they heard a pause when they answered their phones before a voice came on the
line from ALLY FINANCIAL, INC..

19. Jessica Kanable is the subscriber, regular user and carrier of the cellular
telephone number (904) ’*=‘:‘*»1516, and was the called party and recipient of Def`endant’s
calls.

20. Annette Kanable is the subscriber, regular user and carrier of the cellular
telephone number (904) ***-925?. and was the called party and recipient of Defendant`s

ealls.

Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 5 of 10 Page|D 5

21. ALLY FINANClAL. INC. placed an exorbitant number of automated
calls to Plaintiffs` cellular telephones (904) ***-1516 and (904) `”~°'*”‘-925?` an attempt to
collect on an automobile loan.

22. Upon receipt of the calls. Plaintiffs` caller identification feature identified
the calls Were being initiated from. but not limited to, the phone number; (501) 821-8351.

23. On several occasions over the last year and a half Plaintiff`s instructed
ALLY FINANCIAL, ll\lC.’s agent(s) to stop calling their cellular telephones.

24. In or about .luly of 201';’, Annette Kanable told an agenti'represcntative of
the Def`endant to "stop ealling, take me off the list. take Jess off the list. we will make
payments and call you if we need to."'

25. ln or about _lanuary of 2018._ Annette Kanable told an agent/representative
of the Defendant to “stop calling. we have an arrangement.""

26. ln or about November of 201?`, .|essica Kanable told an
agentfrepresentative of the Def`endant: “I've already made a deal with you. please stop
calling."

2?'. ALLY FINANCIAL, INC. has a corporate policy to use an automatic
telephone dialing system or a pre~recorded or artificial voice to individuals just as it did
to Plaintiffs’ cellular telephones in this case.

28. ALLY FINANCIAL, lNC. has a corporate policy to usc an automatic
telephone dialing system or a pre-recorded or artificial voice just as it did to Plaintiffs`
cellular telephones in this case, with no way for the eonsumer, Plaintift"s, or ALLY

FINANC[AL, INC.. to remove the number.

Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 6 of 10 Page|D 6

29. ALLY FINANCIAL. INC.`s corporate policy is structured so as to
continue to ca11 individuals like the Plaintil`fs, despite these individuals explaining to
ALLY FINANCIAL, INC. they wish for the calls to stop.

30. ALL,Y FINANCIAL, INC. has numerous other federal lawsuits pending
against it alleging similar violations as stated in this Cornplaint.

31. ALLY FINANCIAL, lNC. has numerous complaints across the country
against it asserting that its automatic telephone dialng system continues to call despite
requested to stop.

32. ALLY FINANCIAL. INC. has had numerous complaints from consumers
across the country against it asking to not be called; however, Defendant continues to call
the consumers

33. ALLY FWANCIAL, INC.`s corporate policy provided no means for
Plaintiff to have their number removed front Defendant`s call list.

34. ALLY FINANCIAL. INC. has a corporate policy to harass and abuse
individuals despite actual knowledge the called parties do not wish to be called.

35. l\lot a single call placed by ALLY FLNANCIAL, INC. to the Plaintiffs
were placed for "emergency purposes” as specified in 4? U.S.C. § 22?(b)( l )(A).

36. ALLY FINANCIAL, INC. willfully andfor knowingly violated the TCPA
with respect to Plaintiffs.

37. From each and every call placed without consent by ALLY FINANCIAL,
lNC. to Plaintifi`s` cellular phones, Plaintiffs suffered the injury of invasion of privacy

and the intrusion upon their right of seelusion.

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Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 7 of 10 Page|D 7

38. From each and every call without express consent placed by ALLY
FINANCIAL, INC. to Plaintiffs’ cellular phones, Plaintif"fs suffered the injury of
occupation of their cellular telephone lines and cellular phones by unwelcome calls`
making the phones unavailable for legitimate callers or outgoing calls while the phones
were ringing from ALLY FlNANClA L, INC.`s calls.

39. From each and every call placed without express consent by ALLY
FlNA-NClAL, INC. to Plaintiffs’ cellular phones, Plaintif`f`s suffered the injury of
unnecessary expenditure of their time. For calls they answered. the time they spent on the
call was unnecessary as they repeatedly asked for the calls to stop. Even for unanswered
ealls, Plaintiffs had to waste time to unlock the phones and deal with missed call
notifications and call logs that reflected the unwanted calls. This also impaired the
usefulness of these features of Plaintiffs` cellular phones, which are designed to inform
the user of important missed communications

40. Eaeh and every call placed without express consent by ALLY
FlNANClAL, ll\'C. to Plaintiffs’ cellular phones was an injury in the form of a nuisance
and annoyance to Plaintiffs. For calls that were answered. Plaintiffs had to go to the
unnecessary trouble of answering them. Even for unanswered calls. Plaintiffs had to
waste time to unlock the phones and deal with missed call notifications and call logs that
reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiffs` cellular phones, which are designed to inform the user of important missed

communications

Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 8 of 10 Page|D 8

41. Each and every call placed without express consent by ALLY
FINANCIAL. lNC. to Plaintiffs’ cellular phones resulted in the injury of unnecessary
expenditure of Plaintiff`s` cellular phones’ battery power.

42. Each and every call placed without express consent by ALLY
FINANCIAL, lNC. to Plaintiffs` cellular phones where a voice message was left which
occupied space in Plaintiffs` phones or network.

43. Each and every call placed without express consent by AhLY
FINANCIAL, INC. to Plaintiffs’ cellular phones resulted in the injury of a trespass to
Plaintiffs` chattcl. namely their cellular phones and their cellular phone services.

44. As a result of the calls described above, Plaintiffs suffered an invasion of
privaey. lessica Kanable was also affected in a personal and individualized way by stress,
anger, frustration, and hospitalization Annette Kanable was also affected in a personal
and individualized way anger and frustration.

COUNT I
(Violation of the 'I`CPA)

45. Plaintiffs fully incorporate and reallege paragraphs one ( l) through forty-
four (44) as if fully set forth herein.

46. ALLY FINANCIAL. lNC. willfully violated the TCPA with respect to
Plaintiffs, especially for each of the auto-dialer calls made to Plaintiffs` cellular
telephones after Plaintiff"s notified ALLY FINANCIAL, INC. that they wished for the
calls to stop.

4?. ALLY FINANCIAL, INC. repeatedly placed non-emergency telephone

calls to Plaintiffs` cellular telephones using an automatic telephone dialing system or

Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 9 of 10 Page|D 9

prerecorded or artificial voice without Plaintiffs’ prior express consent in violation of
federal law. including 4? U.S.C § 22?(b)(l)(A)(iii).

WHEREFORE, Plaintiff`s respectfully demand a trial by jury on all issues so
triable and judgment against ALLY FINANCIAL, lNC. for statutory damages, punitive
damages, actual damages, treble damages, enjoinder from further violations of these parts
and any other such relief the court may deemjust and proper.

QQM
(Violation of the FCCPA)

48. Plaintiffs fully incorporate and reallege paragraphs one (l) through forty-
four (44) as if fully set forth herein

49. At all times relevant to this action ALLY FINANCIAL. INC. is subject to
and must abide by the laws of the State of Florida, including Florida Statute § 559.?2.

50. ALLY FINANCIAL, lNC. has violated Florida Statute § 559.?2('7) by
willfully communicating with the debtor or any member of his or her family with such
frequency as can reasonably be expected to harass the debtor or his or her family.

5]. ALLY FINANCIAL, INC. has violated Florida Statute § 559.?2(?`) by
willfully engaging in other conduct which can reasonably be expected to abuse or harass
the debtor or any member of his or her family.

52. ALLY FlNANClAL, INC.’s actions have directly and proximater
resulted in Plaintiffs’ prior and continuous sustaining of damages as described by Florida
Statute § 559.?`?.

WHEREFORE, Plaintif`fs respectfully demand a trial by jury on all issues so

triable and judgment against ALLY FINANCIAL, lNC. for statutory damages, punitive

Case 3:18-cV-01090-I\/|I\/|H-PDB Document 1 Filed 09/11/18 Page 10 of 10 Page|D 10

damages, actual damages, costs, interest, attorney f"ees. enjoinder from further violations
of these parts and any other such relief the court may deem just and proper.
Respectfull y submitted,

fsf .lason Derry

 

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